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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division


LULA WILLIAMS, ^ al.,

        Plaintiffs,

V.                                               Civil Action No. 3:17-cv-461


BIG PICTURE LOANS, LLC,
et al.,

        Defendants.


                              MEMORANDUM OPINION


        The matter is before the Court on PLAINTIFFS' MOTION TO COMPEL


INFORMATION       WITHHELD   ON    THE   BASIS    OF   ATTORNEY-CLIENT    PRIVILEGE


(the "Motion") (ECF No. 340).              Although the title of the Motion

mentions only documents withheld on the basis of the attorney-

client privilege, the text of the Motion seems to compel production

of documents withheld on the basis of the work-product doctrine as

well.     For the following reasons, the Motion will be granted in

part and denied in part.

                                     BACKGROUND


       As explained in detail in the MEMORANDUM OPINION (ECF No.

146) entered on July 27, 2018 (the "Sovereign Immunity Opinion"),

at the core of this case lie consumer loans bearing interest rates

of more than 600% that are alleged to violate Virginia's usury

laws    and   a   lending    scheme      (implemented     through   a    convoluted

corporate maze) that is alleged to violate the Racketeer Influenced

and Corrupt Organizations Act ("RICO").                  The Sovereign Immunity
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Opinion is incorporated by reference to help explication of the

facts in this case as of the time the Sovereign Immunity Opinion

was issued.     Since then, additional factual information has been

provided through discovery in the case against Defendant Matt

Martorello.


A. Additional Factual Background

      1. The Lac Vieux Desert Band of Lake Superior Chippewa Indians
      Starts An Online Lending Business

      In 2011, the Lac Vieux Desert Band of Lake Superior Chippewa

Indians (the ''Tribe'') started to engage in online lending.             On

July 8, 2011, the Tribe's council (the "LVD Council") enacted the

Tribal Consumer Financial Services Regulatory Code (the "Code"),

which   legalized   online    lending   by   the   Tribe.   July 8,    2011

Resolution (ECF No. 23-5) at 1; Nov. 18, 2011 Resolution (ECF No.

23-3) at 1-2.

      Soon after the Code was enacted, the LVD Council organized

Red Rock Tribal Lending, LLC ("Red Rock") as a tribally-owned LLC

on September 14, 2011.       See Sept. 14, 2011 Resolution (ECF No. 23-

8).   The company was managed by two members of the Tribe, and the

Tribe was Red Rock's sole member.        The purpose of Red Rock was to

make loans to consumers from its offices on the Reservation, and

its employees, computers, and records were all located there.           Red

Rock was regulated by a governmental subdivision of the Tribe

called the Tribal Financial Services Regulatory Authority, which
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was created to enforce the Code and regulate licensees.                        Hazen

Aff. (ECF No. 34-1) Ht 8-9; Code (ECF No. 23-4) § 4.1.

      Red Rock decided to contract with an outside entity to better

learn the lending industry and to obtain a source to fund its

online lending. The Tribe had identified Martorello as a potential

consultant in mid-2011.         Martorello Decl. (ECF No. 366-10) flU 14,

17.       Martorello   owned   Bellicose      VI,   LLC   ("Bellicose    VI")    and

SourcePoint VI, LLC ("SourcePoint").^               On October 25, 2011, Red

Rock contracted with Bellicose VI for it to provide Red Rock with

vendor     management    services,    compliance       management      assistance,

marketing     material    development,        and   risk     modeling    and    data

analytics development.         Hazen Aff. H 10; Servicing Agm't (ECF No.

344-2)     at 1 (the     "Servicing Agreement").           On April     15,    2012,

Bellicose VI assigned its interest in the Servicing Agreement to

SourcePoint.     Hazen Aff. H 12; Servicing Agm't at 1.

      Even    though    Red    Rock   was     solely      owned   by   the    Tribe,

Martorello—through his company, SourcePoint—handled most material

aspects of the lending business and funded Red Rock's operations.

See generally Servicing Agm't.               Under the Servicing Agreement,

revenues were distributed first to Red Rock, which received 2% of

all gross revenues "plus bad debt recoveries minus the sum of




      ^    Bellicose    Capital,   LLC   ("Bellicose        Capital")    was    then
created on October 9, 2013 to further insulate Bellicose VI and
SourcePoint from liability.    See Bellicose                 Capital's Delaware
Incorporation Statement (ECF No. 344-4).
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charge backs and bad debt charge-offs."                Servicing Agm't §§ 2.25,

6.4.1.    The remainder was then distributed in the following order:

(1) to SourcePoint, to reimburse it for funding advances made to

Red Rock and for servicing expenses; (2) to any of Red Rock's

creditors, to pay outstanding debt that was then due; and (3) to

SourcePoint, to pay its monthly servicing fee.                Id. § 6.4.2-6.4.5.

The Servicing Agreement also assigned specific responsibilities to

SourcePoint.    For instance, after noting that SourcePoint was being

engaged as Red Rock's "independent contractor" to perform                        the

services noted, the Servicing Agreement granted to SourcePoint

"the    authority   and   responsibility      over      all   communication      and

interaction    whatsoever       between     [Red      Rock]   and    each    service

provider, lender and other agents of                  [Red Rock]."         Id. § 3.1

(emphasis added).      The Servicing Agreement also prevented Red Rock

from    operating   its    lending    business         anywhere     without    using

SourcePoint to provide its management and consulting services for

those    operations.      Id.    § 3.3.1.        In   addition,      the   Servicing

Agreement required SourcePoint to select a bank account to store

all funds generated by Red Rock's lending, and it gave SourcePoint—

unless otherwise agreed between Red Rock and SourcePoint—the "sole

signatory and transfer authority over such bank accounts," as well

as "sole authority to sweep monies from such bank accounts" to

distribute revenues under the priority structure.                   Id. § 4.4.   The

Servicing    Agreement    also    placed    in     SourcePoint      virtually    all
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significant duties concerning the day-to-day functioning of the

lending business being conducted in Red Rock's name, including;

(1) selecting and negotiating with service providers and lenders;

(2) "[d]evelopment and promotion of sound and positive business

relationships,"     including   "the       enforcement   or   termination   of

agreements     with     such    service        providers      and   lenders";

(3) preparation of regulatory, compliance, training, education,

and accounting standards, as well as standards for "screening and

review of" "website contents, marketing and consumer relations

practices"; (4) providing "pre-qualified leads" and the "credit-

modeling data and risk assessment strategies"; (5) oversight of

Red Rock's call center in the Philippines; and (6) sales to third-

party debt collectors.      Id. § 4.2.1.2

      As a result of this structure. Red Rock received merely $3.2

million in profits from January 1, 2014 through August 31, 2015,

even though the loans generated a net profit of $161.9 million,

with most of the profit going to Martorello.             Red Rock Accounting

Sheet {ECF No. 344-3) at 1-4.      Martorello owned 85.1% of Bellicose



     2 Plaintiffs allege that: Bellicose funded and underwrote Red
Rock's loans; the money loaned was transferred from a bank account
controlled by Bellicose Capital and Martorello, which tribal
officials could not access; Bellicose Capital accepted consumer
payments directly; and the only funds that Red Rock, Big Picture,
or the Tribe ever received or handled was the specified revenue
percentage under the Servicing Agreement. Compl. (ECF No. 1)
30-32, 36-37; the Motion (ECF No. 340) at 4.             Neither Martorello
nor the Corporate Defendants have presented evidence that
Bellicose Capital was not the funding source for the Red Rock
loans.
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Capital; and his brother, Justin Martorello, owned 9.9% of the

shares.    Dec. 31, 2015 Statement for Bellicose Capital (ECF No.

193-3).   The remaining 5% was owned by Brian McFadden, Simon Liang,

and James Dowd—Bellicose Capital's officers, who occupy their same

roles with Ascension Technologies, Inc. {''Ascension").          Id.

      2. The New York and CashCall Litigations And the Decision to
      Restructure


      In 2013, New York regulators issued cease-and-desist letters

to Red Rock, accusing it and other lending entities of "using the

Internet to offer and originate illegal payday loans to New York

consumers, in violation of New York's civil and criminal usury

laws."    Otoe-Missouria Tribe v. N.Y. Dep't of Fin. Servs., 974 F.

Supp. 2d 353, 356 (S.D.N.Y. 2013).         Thereafter, the Tribe, along

with the Otoe-Missouria Tribe of Indians, sued the New York State

Department of Financial Services to prevent it from enforcing New

York's usury laws and to allow the Tribe to sell New York residents

short-term, high interest loans.         Id. at 355.

      The United States District Court for the Southern District of

New York held that Red Rock was "subject to the State's non-

discriminatory    anti-usury    laws"    because   the   "undisputed   facts

demonstrate[d]" that the illegal activity was "taking place in New

York, off of the Tribes' lands."          Id. at 361.      Ten days later,

Martorello formed Bellicose Capital, in order to add a protective

layer to insulate liability.         See Bellicose Capital's Delaware

Incorporation Statement (ECF No. 344-4).
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      Additionally,    a   few   months      after   the   decision     in   Otoe-

Missouria   Tribe   was    issued,    the   Consumer    Financial     Protection

Bureau (the "CFPB") brought a similar case against CashCall, Inc.

("CashCall") / a payday loan operation that used a "Tribal Lending

Model." See Consumer Fin. Prot. Bureau v. CashCall, Inc., No. CV

15-07522-JFW, 2018 WL 485963, at *l-*3 (C.D. Cal. Jan. 19, 2018),

appeal filed (9th Cir. April 12, 2018).

      Martorello    paid   attention    to    the    CashCall   case,    and,   on

January 3, 2014, he wrote that he was concerned that the CFPB was

attacking "legit tribal lending operations."                 Jan.    2014 Email

Thread (ECF No. 341-4) at 3.           He asked Rob Rosette of Rosette,

LLP—which is counsel for Ascension and Big Picture Loans, LLC ("Big

Picture") (collectively the "Corporate Defendants") in this case-

about whether the CFPB thought differently about "true sovereign

nation   lending"   compared     to   the    "Tribal    Lending     Model"    that

involved Native American lenders assigning the loans to different

non-tribal servicers.      Id.   In the same email chain—which included


lawyers from Rosette, members of the Tribe, the Tribe's general

counsel, and Martorello's brother—Martorello expressed that he was

"glad" that a meeting between him and CFPB regulators had not

occurred and that the regulator did not know that Martorello was

going to meet with him.       Id.     And, Martorello acknowledged that,

if the CFPB began to take action against Red Rock and similar
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lenders, there would be ''a long, expensive and difficult fight

where the stakes are very literally everything."                     Id.

        Originally, the Servicing Agreement between Red Rock and

Martorello's companies—Bellicose VI and SourcePoint, which were

subsidiaries of Bellicose Capital—was to last until December 31,

2018.     Servicing Agm't § 3.2.             However, Martorello changed his

mind about how the lending business should operate and decided to

make changes.          To that end, on August 11, 2014, Martorello told

Jim Williams, Jr., Chairman of the Tribe, that "we're working on

something we should have in the next few days which will have some

talking points to go over about the concept for a potential bigger

deal for LVD learning the Servicing business.                    Maybe we should

start from here with a phone call, and then if we're close you can

come to Puerto Rico to finalize business terms?"                     Aug. 2014 Email

Thread (ECF No. 344-6) at 1.

      In the meantime, the LVD Council enacted the Business Entity

Ordinance on August 26, 2014.            First Aug. 26, 2014 Resolution (ECF

No.   23-6)    at      1-2.      The    Business     Entity    Ordinance      created

comprehensive       procedures         for   the     creation,       operation,   and

dissolution       of     various    tribal       entities,     including      limited

liability     companies       ("LLCs").      See     generally Business        Entity

Ordinance (ECF No. 23-7).              The Business Entity Ordinance further

stated that a tribally owned LLC that had the Tribe as its sole

member    would        "be    considered     a     wholly    owned     and   operated
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instrumentality of the Tribe and . . . [would]               have all the

privileges and immunities of the Tribe, including but not limited

to the Tribe's sovereign immunity from suit, except as explicitly

waived by the [LVD] Council."       Id. Ch. 5, § 8(E).      That same day,

the LVD Council organized Big Picture.              Second Aug. 26, 2014

Resolution (ECF No. 23-10).        Big Picture was formed "as a wholly

owned and operated instrumentality of the Tribe," and was nominally

managed by two tribal members, Michelle Hazen ("Hazen") and James

Williams ("Williams").         Id. at 2-3.    Big Picture was meant to

"ultimately consolidate the business" of the Tribe's other lending

entities. Red Rock and Duck Creek Tribal Financial, LLC.             Id. at

1.


      Soon after, on October 1, 2014, the United States Court of

Appeals   for   the   Second   Circuit   affirmed   the   decision   of   the

Southern District of New York in Otoe-Missouria Tribe of Indians

V. New York State Department of Financial Services, 769 F.3d 105

(2d Cir. 2014), finding that the district court had "reasonably

concluded" that Red Rock failed to establish that it was likely to

succeed on its claim that New York could not stop it from issuing

loans and that "a tribe has no legitimate interest in selling an

opportunity to evade state law."           Id. at 112-14.      After that

decision, on November 4, 2014, Karrie Wichtman, a lawyer who was

with Rosette, LLP and who was counsel for Red Rock at the time,

sent an email to Martorello, explaining that, although the Second
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Circuit's decision      was in some       ways a victory for the Tribe,

Martorello should take the option of ''go[ing] quietly into the

night and restructure based on what we know from the opinion in

order to build an even stronger case for future litigation."           Nov.

4 Email From Wichtman to Martorello {ECF No. 398-1) at 2.

       In response to the decision of the Second Circuit, Martorello

and the Tribe took steps to make Ascension (the new servicer of

the loans) and Big Picture operational relatively quickly.              Big

Picture received an employer identification number ("EIN") from

the Internal Revenue Service on December 1, 2014, which is shown

in an email that Wichtman sent to Martorello and members of the

Tribe among others.      IRS Email Containing Big Picture's EIN (ECF

No. 344-7) at 1-2.      On February 5, 2015, the Tribe formed another

entity. Tribal Economic Development Holdings, LLC ("TED"), the

asserted purpose of which was to operate the Tribe's current and

future lending companies.        Fed. 5, 2015 TED Resolution (ECF No.

23-13).     On the same day, the LVD Council created Ascension as a

wholly owned and operated servicing entity and a subsidiary of

TED, and it designated McFadden—the former president of Bellicose

Capital and a part owner of Eventide Credit Acquisitions, LLC

("Eventide"), a company managed and majority-owned by multiple

entities of which Martorello was the president—as the president of

Ascension.     Feb. 5, 2015 Ascension Resolution (ECF No. 344-8) at

1-2.      Ascension   was created "as a wholly owned and operated

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instrumentality of the Tribe," with TED as its sole member, and

 was managed by Hazen and Williams.         Id. at 2-3.

      Around   the   same   time,   the   LVD   Council   had   formed   Tribal

Acquisition Company, LLC (''TAC")—which, like Ascension, had TED as

its sole member and Hazen and Williams as co-managers—for the sole

purpose of acquiring Bellicose Capital without creating a nexus

between TED and Delaware.       Sept. 14, 2015 Merger Resolution (ECF

No. 34-2) {the "Merger Resolution") at 2.

      3. The Merger and the Creation of the Corporate Defendants

      In early 2015, the parties agreed on the basic framework of

the merger: a seller-financed transaction with non-fixed payments

over a seven-year term, with any outstanding amount due being

forgiven at the end of that term.          The seller-financier would be

Eventide. Merger Resolution at 3; see generally Eventide Operating

Agm't (ECF No. 344-12).        Eventide was to provide a $300 million

loan to TED,      which TED    would then use to purchase Bellicose

Capital.    Merger Resolution at 3.         After this rather convoluted

structure was set, Martorello continued negotiating with the Tribe

over the next several months.        Martorello Decl. f 52.       The parties

reached a final agreement on September 14, 2015, memorializing the

teirms of the deal in a loan agreement (the "Loan Agreement") and

a promissory note (the "Note").           Merger Resolution at 7-9; see

generally Loan Agm't (ECF No. 83-17); Note (ECF No. 83-11).                 As

part of the transaction, the LVD Council approved a limited waiver

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 of TED'S and Big Picture's sovereign immunity in connection with

 TED'S repayment of the Eventide loan during its seven-year term.

 See Sept. 14, 2015 Immunity Waiver Resolution (ECF No. 34-3) at 2-

8.     On September 14, 2015, the Tribe entered into the Merger

Agreement and Plan of Merger to purchase Bellicose Capital from

 Eventide.         Merger Agm't (ECF No. 344-1).                In a most unusual

provision,         the    Merger    Agreement      provides    that     all    Bellicose

 Capital's "information now or that may be discovered on equipment

of any kind or in any written materials shall be immediately

provided      to     [the    Tribe's    acquisition    company]       and     deleted    or

destroyed      by the        holder so      that   holder retains       no     copies of

 [Bellicose        Capital's]       information."       Merger    Agm't        §     2.6(d)

(emphasis added). Finally, on January 26, 2016, using the loan

from   Eventide,          the Tribe completed its purchase               of Bellicose

Capital, including subsidiaries like SourcePoint and Bellicose VI,

and it acquired all of Bellicose Capital's data, software, and

corporate goodwill.              Martorello Decl. f 53; Hazen Aff. H 22.

       The Tribe finished restructuring its lending businesses soon

after the      Bellicose         Capital purchase.       TAC dissolved in late

January       2016       after    control    of    Bellicose    Capital        had     been

transferred to TED.              Arts, of Dissolution (ECF No. 91-9).                Around

the    same    time.        Bellicose   Capital's     assets     were       assigned    to

Ascension, and its liabilities were assigned to Big Picture.

Afterward, Bellicose Capital ceased to exist.                  Shortly thereafter,

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on February 16, 2016, Big Picture, which was to own the loans,

engaged Ascension as an independent contractor to provide Big

Picture with the servicing support services that Ascension had

carried over from Bellicose Capital.           Intratribal Servicing Agm't

(ECF No. 398-13) § 3.1.       Big Picture retained the same managerial

authority as Red Rock.       Thus, "[t]he criteria used to extend funds

to individual borrowers will remain within the sole and absolute

discretion of [Big Picture] . . . and [Big Picture] . . . shall

execute    all   necessary    loan    documentations.''     Id.   §    4.2.1(k).

Likewise, Ascension "has no authority to engage in origination

activities, execute loan documentation, or approve the issuance of

loans to consumers.      Final determination as to whether to lend to

a consumer rests with [Big Picture]."          Id. § 4.1.

      After   the   sale,    the   ownership   interest     in    Eventide    was

essentially the same as it had been under the Bellicose Capital

arrangement:     Martorello's      companies   owned   an   85%    interest   in

Eventide; his brother, Justin Martorello, owned a 10% interest;

and McFadden, Dowd, and Liang owned a 5% interest collectively,

even as they each served as officers for Ascension. Member Listing

of Eventide (ECF No. 193-8).

      4.    The Corporate Defendants' Structure

      On the same day that Big Picture contracted with Ascension,

the LVD Council also authorized Red Rock to assign the majority of

its consumer loans and obligations to Big Picture.                    Hazen Aff.

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 1[ 23; Feb. 16, 2016 Assignment Resolution {ECF No. 23-23) at 2-3;

 see generally Assignment Agm't (ECF No. 23-24).                Big Picture

 currently employs fifteen individuals on the Reservation.            Hazen

 Aff. H 24.    Ascension employs at least forty individuals, who work

 outside the Reservation at Ascension's satellite offices, which

 appear to be in Atlanta, Puerto Rico, and the Virgin Islands.

 Ascension's Second Am. Resp. to Interrog. at Attachment 2 (ECF No.

 193-10) at 12.    The Tribe has no involvement with Ascension's day-

 to-day operations.     Ascension's Second Am. Resp. to Interrog. At

 6-8.


        Hazen has been Big Picture's CEO since December 2015.         Hazen

 Aff. t 20.     However, as with Ascension, Hazen and Williams have

 delegated to McFadden (the president of Ascension, who is not a

 member of the Tribe and formerly was the president of Bellicose

 Capital): (1) the "approval of Ascension strategic direction,"

 which must be communicated at least quarterly to the co-managers;

 (2) "authority to execute        documents on    behalf   of   Ascension";

 (3) "authority to open and maintain bank accounts"; (4) "authority

 to adopt, terminate, or change employee benefit plans or programs";

 and (5) "authority regarding all matters necessary for the day to

 day management of Ascension."        Ascension Delegation of Authority

 Policy (ECF No. 91-13) § 1.4.

        Further, from the evidence presented by the plaintiffs and as

 previously   discussed    by   the   Court in   the   Sovereign Immunity

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 Opinion, Hazen and Williams do little to oversee the lending

 business as co-managers.         Williams' testimony about his non-

 involvement in Big Picture's day-to-day operations and lack of

 knowledge about customer service representatives' responsibilities

 show that his oversight is narrow in scope and death.            Sovereign

Immunity Opinion at 68-69.          Further, as previously discussed.

Ascension conducts most (if not all) operations from outside of

the Tribe's reseivation and employs only non-tribal members.             Id.

at 69.


      5. Martorello's Communications With Attorneys About the Sale

      Throughout these events from the time of the Otoe-Missouria

Tribe litigation up until the eventual sale of Bellicose Capital

to the Tribe, Martorello discussed corporate restructuring, the

Tribal lending model, and the Tribe's lending operations with

several attorneys. From the privilege logs attached to the Motion,

it appears that Martorello discussed those topics with, and

received advice on them from, the following attorneys: (1) Jennifer

Weddle of Greenberg Traurig, LLP and Mike McBride III of Crowe &

Dunlevy about ''filing with Commissioner of Financial Regulation"

on January 23, 2015; (2) James Fitzsimmons of Budd Lerner about a

broker agreement on June 9, 2015 and on June 24, 2015, and about

the sale of Bellicose Capital on August 29, 2016, which included

various agreements involved in the merger; (3) William Blum and

Robert Ladislaw of Solomon Blum Heymann LLP about an "entity

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 structure" on June 11, 2015 and about various tax matters relating

 to the Bellicose Capital sale from May 11, 2016 through August 31,

 2016; (4) Dianette M. Rivera Melendez, Juan Feliciano, and Edgar

 Rios Mendez of Pietrantoni Mendez & Alvarez LLC about "structure


 changes" and tax matters related to the sale from June 16, 2015 to

August 31, 2016; (5) Jeanelle Alemar of JAE Legal Services LLC

about "structure changes" and "corporate structure" on June 17,

 2015 and June 23, 2015; (6) John L. Williams of Conner & Winters

about the Bellicose Capital merger and "[n]on-surviving companies"

from January 27, 2016 to August 30, 2016; (7) David Nissman of

ILP+ McChain Miller Nissman LLC about a document called the "Zeke

article" on February 8, 2016; (8) Joel Winston, Blake Sims, and

Jean   Noonan of    Hudson   Cook,   LLP   about regulatory advice      and

industry lawsuits from June 2, 2016 to June 29, 2016; and (9)

Andrew Smith of Covington & Burling, LLP regarding a commercial

dispute with the Tribe and other regulatory advice on June 29,

2016 and June 30, 2016.      See generally Martorello's Privilege Logs

(ECF Nos. 341-24 and 341-25).

B. Procedural Background

       In this case, Martorello is alleged to have arranged the

corporate restructuring and the lending operation in a way to

insulate himself and the Corporate Defendants from liability under

state usury laws and federal credit-regulating laws by trying to

put the Corporate Defendants within the sovereign immunity of the

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 Tribe.   The plaintiffs allege that these actions were done so that

 Martorello, Big Picture, and Ascension could violate Virginia's

 usury laws and RICO with impunity by being clothed in the Tribe's

 sovereign immunity.      Specifically, the Corporate Defendants are

 alleged to have made loans with an annual percentage rate ("APR")

 up to an amount of 693.2%, which exceeds the maximum amount of 12%

 allowed in Virginia unless the person first obtains a consumer

 finance license from the Commonwealth (which neither the Corporate

Defendants nor Martorello have done).          Compl. ff 54-67; Va. Code

 §§ 6.2-1501(A), 6.2-303(A).      Further, the Corporate Defendants and

 Martorello are alleged to have violated RICO by "collecti[ng]

unlawful debt," which is defined as "a debt . . . which was incurred

in connection with . . . the business of lending money or a thing

of value at a rate usurious under State or Federal law, where the

usurious rate is at least twice the enforceable rate."           18 U.S.C.

§§ 1962(c), 1961(6).3

      The plaintiffs allege, and have made a prima facie case to

prove, that the sale of Bellicose Capital to the Tribe did not

substantively change anything related to the lending business in

which Martorello and the Tribe were engaged while operating that


      3 In full, section 1962(c) says,
      (c) It shall be unlawful for any person employed by or
      associated with any enterprise engaged in, or the activities
      of which affect, interstate or foreign commerce, to conduct
      or participate, directly or indirectly, in the conduct of
      such enterprise's affairs through a pattern of racketeering
      activity or collection of unlawful debt.
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 business through Red Rock (the lending operation found to be

 conducting illegal activity by the United States District Court

for the Southern District of New York and the Second Circuit).

 Further, they allege, and have offered substantial proof to show,

that the sale was essentially a sham transaction meant to clothe

the Corporate Defendants in the Tribe's tribal sovereign immunity

in a so-called a "rent-a-tribe" business model, in which a payday

lending scheme associates with a Native American tribe to avoid

state and federal law.       Compl. ft 2-4. The plaintiffs allege, and

have    offered      substantial   evidence    to    prove,    that     the    sale

transaction     was    devised    by Martorello      to shield    him    and    his

closely-held corporations as well.

       The    plaintiffs    have     shown    that    the     convoluted       sale

transaction and the attendant corporate restructuring (following

adverse      legal   decisions)    was   designed    by   Martorello and       his

lawyers, with the involvement of the Tribe and its lawyers, to

continue the lending operation that had been held to be illegal by

federal courts.       They point to Chairman Williams' statement in his

deposition that McFadden's job was not different at Ascension than

it was at Bellicose Capital except "[t]he difference is now he

answers to the Tribe" and that "everything that was being done [at

Bellicose Capital] was just transferred over to Ascensions [sic]

to keep the flow going."           Williams Deposition Excerpt (ECF No.

344-10) at 3-4.         Another member of the Tribe, Secretary Susan

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 McGeshick, said that Bellicose Capital "did like the - the same

 thing as Ascension does today."       McGeshick Deposition Excerpt (ECF

 No. 344-11) at 3.        And, as the Court already has held, certain

 provisions of the Servicing Agreement "confer on Eventide, and

 hence Martorello, significant control mechanisms over significant

aspects of Ascension's operations."          Sovereign Immunity Opinion at

71.   Indeed, Martorello can revoke the shares that McFadden, Liang,

and Dowd—all officers of Ascension—have in Eventide.                See Eventide

Operating Agm't at 5 {"The Manager [Martorello], in his sole and

absolute discretion, may require a Member to sell all or a portion

of the Interest of such Member, on not less than fourteen (14)

days' notice (a 'Mandatory Repurchase')"); id. at 19 (showing that

McFadden, Liang, and Dowd were officers at Eventide).

      In further pursuit of proof of these claims, the plaintiffs

sought    documents   and      interrogatory    answers     about   the     above-

described merger and restructure and the lending operations in

which the Corporate Defendants are engaged.            Martorello objected,

inter alia, on grounds that his asserted subjective good faith

defense to the plaintiffs' claims "about the legality of the tribal

business model and [the Tribe's] lending operations" relies only

"on      non-privileged     information        provided      by     attorneys."

Martorello's     Resp.    to     Interrog.     (ECF   No.    341-1)    at    7-8.

Essentially, he argues that he should not be held liable for the

plaintiffs' claims because he had a good faith belief that his

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 conduct, the corporate restructuring that followed the decision

 declaring that Red Rock's lending was illegal, and the ensuing

 lending business were lawful.

        As a result, the plaintiffs filed the Motion, asking the Court

 to;


        (1) compel[] the production of all documents withheld on
        Martorello's privilege logs (ECF Nos. 341-24 and 341-
        25);

        (2) requir[e] Martorello to disclose all the advice that
        he received regarding: (i) the legality of the tribal
        business model, (ii) the legality of LVD's lending
        operations, (iii) the restructure, and (iv) any
        litigation involving any similar business models,
        including but not limited to any litigation involving
        CashCall, John Reddam, Scott Tucker, Charles Hallinan,
        Think Finance, and Kenneth Rees; and

        (3) find[] a waiver of privilege and work product as to:
        (i) any documents destroyed as part of the sale of
        Bellicose Capital to the Tribe, including any documents
        retrieved   by   Martorello  and   the   attorneys   who
        represented the companies and (ii) any communications in
        regard to the documents' destruction.

See id.


                                  DISCUSSION


                  I. THE ATTORNEY-CLIENT PRIVILEGE ISSUE


       The     attorney-client    privilege    "is    the   oldest    of    the

privileges for confidential communications known to the common

law."     Upjohn v. United States, 449 U.S. 383, 389 (1981).                The

privilege is intended to "promote broader public interests in the

observance      of   law   and   administration      of   justice,"   and   it

"recognizes that sound legal advice or advocacy serves public ends

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 and that such advice or advocacy depends upon the lawyer's being

fully informed by the client."         Id.

       The Fourth Circuit uses what it calls the "classic test" for


determining the existence of attorney-client privilege:

       The privilege applies only if (1) the asserted holder of
       the privilege is or sought to become a client; (2) the
       person to whom the communication was made (a) is a member
       of the bar of a court, or his subordinate and (b) in
       connection   with   this   communication     is    acting   as    a
       lawyer; (3) the communication relates to a fact of which
       the attorney was informed (a) by his client (b) without
       the presence of strangers (c) for the purpose of securing
       primarily either (i) an opinion on law or (ii) legal
       services or (iii) assistance in some legal proceeding,
       and not (d) for the purpose of committing a crime or
       tort; and (4) the privilege has been (a) claimed and
       (b) not waived by the client

Hawkins v. Stables, 148 F.3d 379, 383 (4th Cir. 1998) (quoting

United States v. Jones, 696 F.2d 1069, 1072 (4th Cir. 1982)).

Here, the parties do not dispute that the sought information at

issue is covered by the attorney-client privilege.

       The plaintiffs argue that, for two reasons, Martorello must

turn over his communications with his attorneys that relate to the

above-described corporate restructuring, the Tribal lending model,

and the formation and operation of the Tribe's lending business

sales transactions, including all advice that Martorello received

regarding: (i) the legality of the tribal business model, (ii) the

legality of LVD's lending operations, (iii) the restructure, and

(iv)   any   litigation    involving      any   similar   business      models,

including but not limited to any litigation involving CashCall,

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 John Reddam, Scott Tucker, Charles Hallinan, Think Finance, and

 Kenneth Rees.      See The Motion (ECF No. 340).         First, the plaintiffs

 argue that Martorello has waived the attorney-client privilege by

 asserting a good faith defense.            Second, they argue that the so-

 called crime/fraud exception to the attorney-client privilege

 applies   to     require    production   of    the   sought     after    documents

 pertaining to the legality of the lending business model, the

 Tribe's operations, and the Corporate Defendants' structure and

 restructure following the decision in Otoe-Missouria Tribe.                     Each

 argument will be addressed in turn.

 A. Whether Martorello Has Waived the Attorney-Client Privilege

      Martorello has waived the attorney-client privilege, say the

plaintiffs, because he asserted, as a defense, his good faith

belief     that    the    Tribe's   business     model,    the    structure      and

restructure       described from    pages      2-16   above,   and     the    Tribe's

lending operations were legal.

      Waiver      of   the   attorney-client      privilege      can     be   either

expressed or implied.         Express waiver is not at issue here.

      In the Fourth Circuit, "[i]mplied waiver occurs when a party

claiming    the     privilege    has voluntarily disclosed           confidential

information on a given subject matter to a party not covered by

the privilege."          Hanson v. U.S. Agency for Int'l Dev., 372 F.3d

286, 294 (4th Cir. 2004); see also Hawkins, 148 F.3d at 384 n.4

("As a general rule, implied waiver occurs when the party claiming

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 the   privilege    has       made   any    disclosure       of     a   confidential

communication      to   any    individual        who   is   not   embraced    by   the

privilege.''); United States v. Juan, 48 F. Supp. 3d 853, 859 (E.D.

Va. 2014) (stating that "other courts have more broadly described

the trigger for a waiver as anything that might put the nature of

the attorney's prior advice or the attorney-client relationship

'at issue'").      And, putting one's good-faith belief at issue can

lead to such waiver.          In In re Grand Jury Subpoena, 341 F.3d 331

(4th Cir. 2003), the Fourth Circuit held that there was an implied

waiver when a defendant said "that he had acted in a particular

way relying on the legal advice of an attorney."                    Id. at 337; see

also United States v. Moazzeni, 906 F. Supp. 2d 505, 512 (E.D. Va.

2012) ("[Implied]        waiver may occur if the client places the

attorney-client         relationship        in     issue,     for       example,   by

affirmatively invoking a defense of good faith reliance on advice

of counsel.").      The Second Circuit has put the matter somewhat

differently, holding that implied waiver is present in three

situations: (1) "when a client testifies concerning portions of

the attorney-client communication," (2) "when a client places the

attorney-client relationship directly at issue," and (3) "when a

client asserts reliance on an attorney's advice as an element of

a claim or defense."          See In re County of Erie, 546 F.3d 222, 228

(2d Cir. 2008) (quoting Sedco Int'l S.A. v. Cory, 683 F.2d 1201,

1206 (8th Cir. 1982)).         The test of the Fourth Circuit is somewhat


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 more broadly expressed than the one articulated by the Second

 Circuit.      But, the two approaches are harmonious in that the waiver

is found because of a defense that, in whole or in part, relies on

the advice of counsel or testimony about portions of an attorney-

client communication.


        The    assertion       of     an    ''advice   of   counsel"    defense   has    been

described as a "'quintessential example' of an implied waiver of

the privilege."            See id.         But, it is clear that "a party must rely

on privileged advice from his counsel to make his claim or defense"

for a waiver to occur.                Id. at 229; see also 1 McCormick On Evid.

§ 93 (7th ed.) ("It has accordingly become established that if a

party interjects the 'advice of counsel' as an essential element

of a claim or defense, then that party waives the privilege as to

all advice received concerning the same subject matter.").

        In    his    Answer      to    the      Complaint,     Martorello     stated     that

"Defendant, Matt Martorello, at all times relevant acted in good

faith and in a lawful manner towards consumers and in conformity

with all applicable laws and regulations."                          Martorello's Answer

(ECF    No.     35)       at   23.         In   his    responses   to   the   plaintiffs'

interrogatories about his defense, Martorello elaborated that his

defense       was     "based,        in     part,     on    non-privileged    information

provided by attorneys Jennifer Weddle, Karrie Wichtman, Blake

Sims,        John    Williams,         Jennifer        Galloway,    Dan    Gravel,      Saba

Bazzazieh,          and   Robert      Rossette,        as   well   as   others    at    their


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 respective law firms, as well as from additional non-attorney

 public sources, about the legality of the tribal business model

and [the Tribe's] lending operations."              Martorello's Resp. to

Interrog. at 7-8.      Martorello also answered that "Martorello and

his attorneys performed significant due-diligence on the Tribe's

contemplated transactions and business efforts, as the Tribe and

its business advisors and attorneys did with Martorello."               Id. at

9.   Martorello's pleadings make clear that he intends to prove in

his defense that he believed "in the lawfulness of the [Tribe's]

lending    business"   because    Rick    Gerber,   CEO   of   the   financial

institution used by the Tribe, "advised that the FDIC [] told him

that tribal lending businesses were not illegal." id. at 11. And,

he intends to prove as well: (1) that the representations made by

the Tribe's attorneys about the legality of the Tribe's business;

and (2) that "consultation with counsel provided Martorello with

the assurances that the servicing relationship whereby Bellicose

or SourcePoint would assist the Tribe's lending businesses was

lawful in all respects."         Id. at 12 (emphasis added).         Finally,

Martorello adds that Bellicose Capital, at his direction, "spent

nearly $1 million building compliance management system ('CMS'),

and hired attorneys and experts to help manage and provide guidance

regarding compliance."      Id.

      The plaintiffs argue that Martorello's good faith defense, as

evidenced by his interrogatory responses and his briefs, means

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that he cannot prevent disclosure of any advice related to that

belief    and   that    Martorello      is   trying    to    reveal    beneficial

communications while withholding other less helpful ones, which,

of course, he cannot do.           C.f. E.I. Dupont de Nemours & Co. v.

Kolon Indus., Inc., 269 F.R.D. 600, 605 (E.D. Va. 2010).                 Further,

they argue that there is waiver because Martorello affirmatively

placed his subjective         belief    regarding the lawfulness of            his

conduct as an issue in this case.             Martorello responds that the

plaintiffs are conflating an advice of counsel defense—which would

lead to waiver—with his asserted good faith defense based on non-

privileged information—which, in his view, should not lead to

waiver.    Further, Martorello relies on In re Itron, Inc., 883 F.3d

553, 561 (5th Cir. 2018), to argue that requiring him to turn over

privileged documents would essentially force him to lose his

privilege merely because the documents are relevant to the lawsuit.

      The record here shows that Martorello has waived the attorney-

client privilege as to all communications with counsel regarding

the   restructure      of   the   lending    business;      all   communications

regarding    the    legality      of   the   Tribe's   business       model;   all

communications regarding the legality of the Tribe's lending

operations; and all communications regarding litigation involving

similar business models (including CashCall, John Reddam, Scott

Tucker, Charles Hallinan, Think Finance, and Kenneth Rees).




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         The record shows that Martorello's good faith defense has

 placed his communications with attorneys at issue in this case,

 waiving the attorney-client privilege about the foregoing topics.

 As demonstrated by his interrogatory answers, the statements in

 his Answer to the Complaint and in his briefs, Martorello has

 asserted that he is going to rely on far more than public, non-

 privileged information.             For example, Martorello has shown that

 his purported good faith beliefs were based, in part, on the facts

 that:    (1)   he   and    ''his    attorneys       performed   significant        due-

diligence on the Tribe's contemplated transactions and business

efforts, as the Tribe and its business advisors and attorneys did

 with Martorello,"         Martorello's Resp.            to Interrog.   at 9;        (2)

"consultation with counsel provided Martorello with the assurances

that the servicing relationship whereby Bellicose or SourcePoint

would assist the Tribe's lending businesses was lawful in all

respects," id. at 12 {emphasis added); and (3) Bellicose Capital,

at   Martorello's     direction,          "spent    nearly $1    million        building

compliance      management system           ('CMS'), and hired attorneys and

experts to help manage and provide guidance regarding compliance."

Id. (emphasis added).             Further, in DEFENDANT MATT MARTORELLO'S

MEMORANDUM      IN   OPPOSITION           TO    PLAINTIFFS'    MOTION      TO    COMPEL


INFORMATION     WITHHELD     ON     THE   BASIS     OF   ATTORNEY-CLIENT    PRIVILEGE


(ECF No. 366), Martorello acknowledges that he and the Tribe

"secured     multiple      foinnal    and      informal    opinions   from      counsel


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 opining that the [the Tribe's] tribal lending model was viable and

 that    Indian   sovereign    immunity   would   apply,   precluding    the

 application of state and federal laws."          Id. at 16.

        All these statements show that Martorello's asserted belief


 that the Tribe's lending business and the corporate restructuring

 at issue were legal was partially, if not almost entirely, based

 on his reliance on infonnation communicated to him by attorneys.

 Thus, on this record, Martorello has affirmatively waived the

 attorney-client privilege by arguing that he had a good faith

 belief that he was following the law.        See U.S. v. Bilzerian, 926

 F.2d 1285, 1292 (2d Cir. 1991) (holding that waiver occurred when

 a party testified that ''he thought his actions were legal," which

"put his knowledge of the law and the basis for his understanding

of what the law required" at issue); Henry v. Quicken Loans, Inc.,

263 F.R.D. 458, 469 (E.D. Mich. 2008) ("[W]hen a party asserts a

defense of good faith or reasonableness, and affirmatively offers

testimony that the party consulted with their attorney as factual

support for the defense, and when counsel's advice in some way

supports the defendant's good faith belief, the defendant has put

his counsel's advice 'at issue' and thereby waives the attorney

client     privilege   on     the   narrow   subject   matter    of   those

communications.").

        Martorello's heavy reliance on In re Itron is misplaced.         In

that case, the Fifth Circuit addressed whether a plaintiff waived

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 its attorney-client privilege merely by filing a lawsuit in which

 attorney-client communications were relevant.                   883 F.3d at 556.

 The Fifth Circuit said that it could not hold that waiver occurred

 "whenever       the   client    files    a     lawsuit    to    which   privileged

 communications, if disclosed, might prove 'highly relevant'—even

 if the client never relies on or uses those communications to make

 her legal case."        Id. at 560 (emphasis added).              Nothing of the

 sort is present here.          Martorello affirmatively responded that he

 was relying on the opinions of attorneys and communications with

 them as part of his defense.          So, In re Itron provides no help for

 him.


        This case is much more similar to Henry, in which a party

"affirmatively asserted advice of counsel as a basis for its good

faith"     by      stating      that   counsel       "confirmed"     the   party's

understanding and reinforced its good faith efforts to comply with

the law.        263 F.R.D. at 470.       The Court in Henry held:

        By including consultations with counsel as a basis for
        its good faith, [the party] has transfonned the defense
        of good faith into a 'good faith reliance on counsel'
        defense. Once the defendant has relied (even in small
        part) on privileged communications to make its case,
        fairness requires that the privilege be put aside in
        order    for   the   plaintiff         to   test   the   defendant's
        contentions.


Id.     That is what Martorello has done here.

        The burden is on Martorello to show that the attorney-client

privilege applies to his case and "that the privilege was not

waived."        Jones, 696 F.2d at 1072.             Martorello failed in that
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 burden because his "[s]elective disclosure for tactical purposes

 waive[d] the privilege."               Id.

      The scope of the waiver is defined in large measure by the

 nature   of    the    asserted         good    faith       defense.          And,    here,       the

assertion       of    good    faith       is    quite        broad.          That    is    because

 Martorello's good faith                defense       is    that he       believed        that    the

restructuring of the lending business after the decision in Otoe-

 Missouria     Tribe,       the   Tribe's       business          model,     and    the    Tribe's

lending operations were lawful.                  The scope thusly defined is as to

 those topics.        We also consider that Fed. R. Evid. 502(a) provides

that:


      When the disclosure [of a communication or information
      covered by the attorney-client privilege] is made in a
      federal proceeding or to a federal office or agency and
      waives the attorney-client privilege or work-product
      protection, the waiver extends to an undisclosed
      communication          or   information          in     a     federal    or     state
      proceeding        only      if:    (1) the           waiver    is    intentional;
      (2) the        disclosed      and       undisclosed          communications          or
      information concern the same subject matter; and
      (3) they ought in fairness to be considered together.

Id.   (emphasis       added).        The       key    determinations           here       are    what

communications        are    part       of    ''the   same        sxibject    matter"      as    the

communications         in    Martorello's             defense       and      what     "ought      in

fairness" should be considered with those communications.                                   Id.


      The Fourth Circuit has said that subject matter waiver is

limited    to "other communications relating to the same                                   subject

matter."       Jones, 696 F.2d at 1072 (emphasis added).                            "However, it

is settled that, 'when a party reveals part of a privileged
                                                30
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 communication to gain an advantage in litigation, the party waives

 the   attorney-client     privilege    as   to   all    other    communications

 relating to the same subject matter.              Selective disclosure for

 tactical purposes waives the privilege.'" Kolon Indus., 269 F.R.D.

 at    605   (emphasis   added)   (quoting   Jones,      696     F.2d   at   1072).

''Selective disclosure occurs not only when a party reveals part of

 one privileged communication, but also when a party reveals one

 beneficial      communication    but   fails     to    reveal    another,    less

 helpful, communication on the same matter."             United States ex rel.

 Mayman v. Martin Marietta Corp., 886 F. Supp. 1243, 1252 (D. Md.

 1995).      However, to fall under the scope of subject matter waiver,

 the other documents must be "directly related" to the subject at

issue.       See United States v. (Under Seal), 748 F.2d 871, 875 n.7

(4th Cir. 1984).

        Here, the Motion asks the Court to:

        (1) compel the production of all documents withheld on
        Martorello's Privilege Logs (ECF Nos. 341-24 and 341-
        25); [and]

        (2) require Martorello to disclose all the advice that
        he received regarding (i) the legality of the tribal
        business model, (ii) the legality of LVD's lending
        operations, (iii) the restructure, and (iv) any
        litigation involving any similar business models,
        including but not limited to any litigation involving
        CashCall, John Reddam, Scott Tucker, Charles Hallinan,
        Think Finance, and Kenneth Rees.

The Motion (ECF No. 340).         The Motion also asks the Court to "find

a waiver of privilege and work product as to (i) any documents

destroyed as part of the sale of Bellicose Capital to the Tribe,
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 including any documents retrieved by Martorello and the attorneys

 who represented the companies and (ii) any communications in regard

 to the documents' destruction."                Id.


       The       record    shows      that    Martorello's       good     faith    defense

 encapsulates all documents and communications in his Privilege

 Logs (ECF Nos. 341-24 and 341-25) that are asserted as protected

 by the attorney-client privilege (all of which are directly related

 to   the    lending      business's         restructure,     the     Tribe's     business

 models, or the Tribe's lending business either before or after the

 restructure).          In    other    words,      Martorello    must     turn    over   all

 documents in part (1) of the Motion's request as to which there is

 a claim of attorney-client privilege as well as all advice called

for in part (2) of the Motion.                     As to part (3) of the Motion,

 Martorello must turn over any communications with attorneys that

discuss or relate to the destruction of his emails as those emails

relate      to    the     sale   of    Bellicose       Capital      to    the    Corporate

Defendants, to the destruction of the records of Bellicose Capital

as provided in the Merger Agreement, and to the raison d'etre for

the destruction provision.

      Other       courts      have    held    that    waivers    of      this    scope   are

necessary to prevent selective disclosure.                      See Scott v. Chipotle

Mexican Grill, Inc., 67 F. Supp. 3d 607, 617 (S.D.N.Y. 2014)

(finding     that       the    defendant      had     to   produce    "all      responsive

documents previously withheld on privilege grounds" when it had

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 asserted a good faith defense); United States v. Exxon Corp., 94

 F.R.D. 246, 249 (D.D.C. 1981) ("[B]ecause the waiver is generated

 by the injection of an entire [good faith] defense, the magnitude

 of the waiver must be proportionally larger. . . . [T]he waiver

 must pertain to all documents bearing upon the subject matter of

 the defense.      Otherwise, the party interposing the defense is free

 to divulge only those documents that are most favorable to his

 defense; this is precisely the inequitable result that the waiver

 doctrine seeks to avoid."); see also Bd. of Trs. of Leland Stanford

Junior Univ. v. Roche Molecular Sys., Inc., 237 F.R.D. 618, 626

(N.D. Cal. 2006) (holding that where "the disclosures were made

deliberately in order to secure a legal advantage," the scope of

the   waiver is broad).             Considering the breadth and reach of

Martorello's good faith defense and the principles announced in

Scott, Exxon, and Roche, the scope of the waiver is necessarily

broad to avoid the effect of selective disclosure.

B. Whether Martorello's Coimnunications With Counsel Fall Within
The Crime/Fraud Exception To The Attorney-Client Privilege

      The plaintiffs also assert that Martorello's communications

in    part   (2)    of   the    Motion     are    subject     to    the   so-called

"crime/fraud"       exception        to   the     attorney-client         privilege.

Although     labeled     as    an    "exception"       to   the    privilege,   the

crime/fraud jurisprudence is better considered as "an exclusion of

certain      activity    from       the   reach   of    the       [attorney-client]

privilege[]." Rambus, Inc. v. Infineon Technologies AG, 220 F.R.D.
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 264, 281 (E.D. Va. 2004) (citing In re Grand Jury Subpoena, 731

 F.2d 1032, 1038 (2d Cir. 1984)).            [M]any courts have applied the

 exception to situations falling well outside of the definitions of

 crime or fraud."        Id.   Whatever it may be called (and here it will

 be called the exception because that is how most cases refer to

 it), the exception provides that the attorney-client privilege may

 be lost "when a client gives information to an attorney for the

 purpose of committing or furthering a crime or fraud."                  See In re

 Grand Jury Proceedings #5 Empaneled January 28, 2004, 401 F.3d

 247, 251 (4th Cir. 2005).

      The party asserting the crime/fraud exception must make a

 prima facie showing that the privileged communications fall within

 its reach.      In re Grand Jury Proceedings #5, 401 F.3d at 251.                The

prima facie showing requires evidence that: "(1) the client was

engaged in or planning a criminal or fraudulent scheme when he

sought the advice of counsel to further the scheme and (2) the

documents     containing       the   privileged    materials      bear   a   close

relationship to the client's existing or future scheme to commit

a crime or fraud."         Id.


      The first facet of the test is satisfied by a "showing of

evidence that, if believed by a trier of fact, would establish the

elements    of    some    violation   that   was   ongoing   or    about     to   be

committed."       Id. at 254-55.      The second facet is satisfied if the

"privileged communications . . . bear a close relationship to [the

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 party's] existing or future scheme to commit a crime or fraud,"

 which   is   demonstrated   by ''evidence    of   the   contents of     the []

 documents."    See id. at 255.    This evidence can include "detailed


 summaries of the allegedly privileged documents," an "in camera

 hearing involv[ing] an examination of the actual documents for

 which privilege is claims," or evidence "by other means that

allegedly privileged documents are connected to a crime or fraud

such as through testimony or a reliable government proffer."               See

id. at 253-55.      The focus is on the client's knowledge, and "it is

enough that the communication furthered, or was intended by the

client to further, that illegality."           Id. at 251 (quoting In re

Grand Jury Proceedings (U.S. v. Under Seal), 102 F.3d 748, 751

(4th Cir. 1996)).

      The plaintiffs argue that the crime/fraud exception applies

here because all legal advice in part (2) of the Motion was made

to further the alleged fraud of organizing the Corporate Defendants

and   structuring    and   operating    the   lending    business   on   which

Martorello and the Tribe were engaged so as to permit the making

and collection of loans that are unlawful under state and federal

laws, i.e., in furtherance of crimes.           Specifically, they argue

that the advice was sought to violate Virginia Code § 6.2-1540,

which makes it a class 2 misdemeanor to participate in a violation

of Virginia's usury statute, Virginia Code § 6.2-1501.               Section




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6.2-1501(a) limits a business to contracting for a loan interest

rate of greater than 12%.          See id.; Va. Code § 6.2-303(A).

       The plaintiffs also allege that the advice in section (2) of

the Motion was sought to devise a scheme to allow the "collection

of [an] unlawful debt," which is defined as "a debt . . . which

was incurred in connection with . . . the business of lending money

or a thing of value at a rate usurious under State or Federal law,

where the usurious rate is at least twice the enforceable rate,"

in violation of RICO.       18 U.S.C. §§ 1962(c), 1961(6).

       Martorello responds that the plaintiffs' crime/fraud theory

is erroneous because they mischaracterize the arrangements at

issue as a sham transaction when the Tribe always planned to

acquire Bellicose Capital, and because they assume that Martorello

was    given   similar    advice    as    the   attorney gave   in    CashCall.

Further, relying on In re Napster Inc. Copyright Litigation, 479

F.3d   1078,    1097-98   (9th     Cir.    2007), Martorello argues      that,

standing alone, restructuring an enterprise to limit liability is

insufficient to animate the crime/fraud principle.                   Martorello

argues that the exception does not apply because the lending

business restructure was not for a "knowingly unlawful end";

instead. Native American tribes have a right to choose tribal law

in contractual relations, so there was nothing done that was

unlawful.      Next, Martorello argues that there is no evidence that

the privileged documents have a "close relationship" to an existing

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 or future scheme and that the plaintiffs cannot rely on broad,

 unsupported statements to meet this facet.

      In     reply,    the     plaintiffs          argue        that    the   emails         between

Martorello      and     others        connected            to     the    Tribe      show       that

(1) Martorello and the Tribe restructured for criminal purposes

(namely, violating Virginia and other states' usury laws and for

collection      of     unlawful           debts       in   violation          of   RICO);       and

(2) Martorello's            conduct       went     beyond        restructuring          to    limit

liability.

      The     plaintiffs        have        made       a    prima       facie      case       that;

(1) Martorello and the Corporate Defendants intended to lend at

usurious rates of interest in violation of Virginia and other

states'      laws     and    that     they        intended        to    engage     in     conduct

(collecting unlawful debt) in violation of RICO; and (2) Martorello

and the Corporate Defendants engaged the lawyers to help in

achieving their objectives.                 Virginia Code § 6.2-1540 makes clear

that it is a crime to participate in the violation of Virginia's

usury statute, which limits a business to contracting for a loan

interest rate of greater than 12%.                     See Va. Code § 6.2-1501.                 The

plaintiffs      have        made      a     compelling           case     that      Martorello

participated in such an endeavor on his own and with the Corporate

Defendants.


      And,    the     plaintiffs          have    made     a     prima    facie     case       that

Martorello violated RICO.                 As stated earlier, a section 1962(c)

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violation requires: ''(1) conduct (2) of an enterprise (3) through

a     pattern   (4)    of    racketeering         activity"    or,    alternatively,

"collection of unlawful debt."               See 18 U.S.C. § 1962(c); Sedima,

S.P.R.L. V. Imrex Co., 473 U.S. 479, 496 (1985) (footnote omitted);

see also Gibbs v. Haynes Investments, LLC, No. 3:18CV48, 2019 WL

1314921, at *23 (E.D. Va. Mar. 22, 2019) ("To establish a violation

of § 1962(c), Plaintiffs must allege that the [] Defendants (1)

conducted the affairs of an enterprise (2) through the collection

of unlawful debt (3) while employed by or associated with (4) the

'enterprise     engaged       in,    or     the   activities    of    which   affect,

interstate or foreign commerce'" (footnotes omitted) (quoting 18

U.S.C. § 1962(c)); Small Bus. Admin, v. Echevarria, 864 F. Supp.

1254,    1266   (S.D.       Fla.    1994)    (stating   that    to    prove   a    RICO

violation,       a     plaintiff          "must     establish        the   following

four elements: (1) income derived from a 'pattern' of racketeering

or the collection of an unlawful debt, (2) the use or investment

of the income in the acquisition, establishment, or operation by

a   defendant    (3)    of    an    'enterprise'     (4)    engaged    or affecting

interstate commerce" (quoting Pelletier v. Zweifel, 921 F.2d 1465,

1489-90,     1518-19        (11th    Cir.     1991));      Leonard    B.   Sand,    et

al.. Modern Federal Jury Instructions, Instruction 52-19 (stating

that to show a violation of section 1962(c), the evidence must

peimit a finding that: (1) "an enterprise existed as alleged in

the    indictment";     (2)    "the       enterprise    affected      interstate    or

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 foreign    commerce";     (3)    ''the   defendant   was    associated     with    or

 employed by the enterprise";             (4) "the defendant engaged in a

 pattern of racketeering activity (or the collection of unlawful

 debt)"; and (5) "the defendant conducted or participated in the

 conduct of the enterprise through that pattern of racketeering

 activity (or the collection of unlawful debt)").                  And, Martorello

 and the Corporate Defendants are alleged to have violated RICO's

 conspiracy    provision     by    conspiring    to   do    such    activity     that

 violates section 1962(c).           See 18 U.S.C. § 1962(d) ("It shall be

 unlawful    for   any    person    to    conspire    to    violate   any   of     the

provisions of subsection (a), (b), or (c) of this section.").

      Here, the plaintiffs have made such a prima facie case as to

these elements because (1) Martorello and the Corporate Defendants

 worked together to restructure the Corporate Defendants and to set

up the tribal business model and the lending operations in which

they were jointly engaged so that usurious loans could be made and

collected; (2) he participated in an "enterprise"^ by working with

the Corporate Defendants and others to restructure the Corporate

Defendants and the lending business to make those illegal loans,

and he had "some part in directing the enterprise's affairs," Reves

V. Ernst & Young, 507 U.S. 170, 179 (1993) (indeed, Martorello's




     ^ RICO says an "'enterprise' includes any individual,
partnership, corporation, association, or other legal entity, and
any union or group of individuals associated in fact although not
a legal entity."         18 U.S.C. § 1961.
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 was a critical role); (3) there was a pattern of making usurious

 loans and collecting unlawful debt because                       Martorello and        the

 Corporate     Defendants      enforced      the    loan    agreements      against     the

 plaintiffs      and   others    who    received      loans       from    the   Corporate

 Defendants that violated states' usury laws; and (4) Martorello

 and    the   Corporate       Defendants       collected      "unlawful         debt"    by

 receiving     payments from      the     plaintiffs and           others "where        the

 usurious rate is at least twice the enforceable rate."                         18 U.S.C.

 § 1961(6).

        Further, the plaintiffs have satisfied the second facet of

 their prima facie case by showing that Martorello and the Corporate

 Defendants engaged the advice of lawyers to achieve their criminal

ends.     The plaintiffs have offered Martorello's Privilege Logs,

and the description of the documents in the "privilege comments"

sections of the Privilege Logs (ECF Nos. 341-24 and 341-25) show

that the "privileged communications . . . bear a close relationship

to [the party's] existing or future scheme to commit a crime or

fraud."       In re Grand Jury Proceedings #5, 401 F.3d at 255.                          As

discussed      above,    the    Privilege          Logs    show    that    Martorello's

communications         with    various       attorneys—Jennifer           Weddle,     Mike

McBride III, James Fitzsimmons, William Blum, Robert Ladislaw,

Dianette M. Rivera Melendez, Juan Feliciano, Edgar Rios Mendez,

Jeanelle Alemar, John L. Williams, David Nissman, Joel Winston,

Blake    Sims,    Jean    Noonan,      and    Andrew       Smith—categorically          all

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related to his efforts to evade state usury laws and to engage in

conduct that violated RICO (collecting unlawful debts).                        Those

comments    reveal    that   Martorello's    communications       with    counsel


involved    subjects    including:    (1)   filings      with    the     New    York

Commissioner of Financial Regulation; (2) discussions involving

the   various   agreements     at   issue   in   this   case     and   the     "deal

structure";     (3)    discussions     regarding        the     tribal    lending

businesses "entity structure" and "tax structure"; (4) requests

for legal advice related to press releases about the lending

business; (5) various discussions about taxing Eventide and the

other entities; (6) discussions about "regulatory advice"; (7) the

Merger Agreement and the "sale transaction"; and (8) debt financing

for Big Picture.      See generally ECF Nos. 341-24 and 341-25.                These

descriptions show that all the advice sought by the plaintiffs

relates to Martorello's scheme to make and collect usurious loans,

in violation of Virginia law and RICO.           See 18 U.S.C. §§ 1962(c)-

(d), 1961(6); Va. Code §§ 6.2-1501(A), 6.2-303(A).                 In addition,

the documents setting out Martorello's good faith defense show

that involvement of counsel in achievement of the criminal conduct

as to which the plaintiffs had made a prima facie case.

      Moreover, the documents about the corporate restructure and

the Tribe's lending operations sought in part (2) of the Motion

lie at the core of the alleged crimes and fraud by outlining how

the restructuring and the lending operation are to be accomplished,

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and those documents are inherently closely related to the alleged

crime and fraud, which is an additional reason that the second

facet of the crime/fraud test are made out.^

      Finally, since the Motion was originally filed, in accordance

with the ORDER dated March 28, 2019 (ECF No. 441), Martorello has

produced 601 documents for in camera review that he claims are

covered by the        attorney-client privilege and the              work-product

doctrine.      After reviewing the privilege logs attached to those

documents,     it    is   clear    that   the   documents    all   relate    to   the

structuring and operating the lending business, and the Tribal

lending model, thereby further supporting the conclusion that the

second facet of the crime/fraud exception is made out.

C. The Alleged Spoliation of Evidence

      Relying on Rambus, the plaintiffs argue, in a summary fashion,

that the crime/fraud exception applies to all documents and records

destroyed as part of the sale of Bellicose Capital as well as any

communications planning, or in furtherance of, the destruction of

those documents and records,              because     Martorello and   the    Tribe

purposefully spoliated the evidence.              The plaintiffs point to the

Merger Agreement, which provides that "[a]11 [Bellicose Capital's]



      5   In   the    first       privilege     log   (ECF   No.   341-24),       one
communication with David Nissman of ILP+ McChain Miller Nissman
LLC dated February 8, 2016 is called the ''Zeke article." Because
the Court has no context or explanation as to what this document
is or how it relates to Martorello's various actions, at this time,
Martorello does not have to turn over the communication unless it
pertains to the lending business or the corporate restructure.
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information now or that may be discovered on equipment of any kind

 or in any written materials shall be immediately provided to [TAG]

and deleted or destroyed by the holder so that holder retains no

copies of Company information," Merger Agm't at § 2.6(d), and to

an email from the Corporate Defendants' counsel that said that all

of Martorello's emails, save a few "pre-2014 travel confirmation

emails," "were deleted shortly after the time of the [sale of

Bellicose Capital to the Tribe] according to the requirements in

the [Merger Agreement]."         Jan. Email from Justin Gray (ECF No.

341-19) at 1.      But, there is no other information in the record

showing why the Merger Agreement included this provision or who

was involved in the destruction of the documents, records, and

emails.


      Martorello responds to the plaintiffs' spoliation argument

by: (1) saying that finding spoliation at this point is premature

because, by ORDER dated January 23, 2019 (ECF No. 326), that topic

is made subject to discovery and because the Tribe, not Martorello,

deleted    the   emails;   and    (2)    pointing   to   Jennifer   Weddle's

declaration that the Tribe, not Martorello, directed her firm to

delete its client files.         See Weddle Decl. (ECF No. 341-3) at 2.

Thus, in his view, the Tribe's conduct cannot be imputed on him.

      Spoliation is "the willful destruction of evidence or the

failure to preserve potential evidence for another's use in pending

or future litigation."      Rambus, 220 F.R.D. at 281 (quoting Trigon

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Ins. Co. V. United States, 204 F.R.D. 211, 284 (E.D. Va. 2001)).

To establish spoliation, the movant must show (1) that the adverse

party had a duty to preserve evidence and (2) that it nevertheless

intentionally destroyed the evidence.               Id.   "The duty to preserve

material evidence       arises    not only during         litigation      but also

extends    to    that   period    before      the    litigation    when   a    party

reasonably should       know     that   the   evidence     may be    relevant    to

anticipated litigation."         Silvestri v. Gen. Motors Corp., 271 F.3d

583, 591 {4th Cir. 2001).          And, "[i]f a party cannot fulfill this

duty to preserve because he does not own or control the evidence,

he still has an obligation to give the opposing party notice of

access to the evidence or of the possible destruction of the

evidence    if    the   party anticipates           litigation    involving    that

evidence."       Id.


      As explained in Rambus, the crime/fraud exception applies to

materials or communications to plan or further the spoliation of

evidence because "spoliation is fundamentally inconsistent with

the asserted principles behind the recognition of the attorney-

client     privilege,     namely,       'observance        of     law'    or    the

'administration of justice,"' and because "spoliation directly

undermines the administration of justice."                  220 F.R.D. at 283

(quoting Commodity Futures Trading Comm'n v. Weintraub, 471 U.S.

343, 348 (1985)).       But, as in Rambus, that conclusion alone does

not resolve whether the crime/fraud exception applies to all the

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''documents destroyed as part of the sale of Bellicose Capital to

 the [Tribe], including any documents retrieved by Martorello and

any attorneys who represented his company."                  The Motion (EOF No.

340).    The plaintiffs must show that: (1) Martorello was engaged

in or planning a scheme of spoliation when he sought the advice of

counsel or the input of the lawyers to further the scheme; and (2)

the documents containing the communications or work product bear

a    close    relationship       to     Martorello's        scheme       to    engage

in spoliation.        Rambus, 220 F.R.D. at 283.             At this stage, the

plaintiffs     have   failed   to     fulfill      their   burden   because     their

briefing merely summarily argues that (except for the destruction

of   Martorello's      emails)      spoliation      occurred.        And,     because

discovery on the spoliation issue is still not complete, it is

best not to decide whether Martorello spoliated any evidence at

this stage.     Once discovery on the spoliation issue is completed,

the plaintiffs may file a motion addressing the alleged spoliation

of evidence and the consequences thereof on the attorney-client

privilege and the attorney-work-product protection.

      However, the provision of the Merger Agreement calling for

the destruction of all of Bellicose Capital's records is very

unusual.     And, given that the operations of Bellicose that were in

effect when the Red Rock lending program was the subject of the

Otoe-Missouria Tribe litigation were found to be unlawful, it is

permissible     to    conclude      that     the    destruction     of    Bellicose


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 Capital's records has all the hallmarks of evidence spoliation on

 issues in this case.           And, it is beyond dispute that lawyers,

 Martorello, and the          Corporate Defendants          were involved in the

 negotiations     of    the   Merger   Agreement.           Also,   the     waiver    of

privilege found in Part I.A above operated to waive the attorney-

client privilege respecting the reasons for including {and the

 negotiations surrounding) the contractual provision that requires

the destruction of Bellicose Capital's documents and records, as

 well as Martorello's emails.          Therefore, the discovery addressing

the spoliation of evidence may include depositions of Martorello

and   all   lawyers     involved     in     the    formulation,      drafting,       and

implementation of the provision and the reasons for it.                      They may

be deposed as well about the destruction of Martorello's emails.

Briefing    may    be    augmented     to      include      the   results    of   such

depositions.      Counsel shall confer and propose a schedule and, by

May 20, 2019, shall submit a proposed order scheduling depositions

and a new briefing schedule with all discovery and briefing on the

spoliation to be completed by August 30, 2019.

                        II. THE WORK-PRODUCT DOCTRINE


      In the Motion, the plaintiffs ask the Court to "compel[] the

production of all documents withheld on Martorello's privilege

logs,"   including      those    that are         covered    by the   work-product

doctrine, and to "find[] a waiver of . . . work product as to: (i)

any evidence destroyed as part of the sale of Bellicose Capital to

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 the LVD, including any documents retrieved by Martorello and any

 attorneys    who    represented      his     companies;   and    (ii)   any

 communications or information created in the planning of or in

furtherance of the spoliation."            But, the PLAINTIFFS' MEMORANDUM

IN SUPPORT OF MOTION TO COMPEL INFORMATION WITHHELD ON THE BASIS


OF ATTORNEY-CLIENT PRIVILEGE (ECF No. 341) provides only a cursory

discussion of the attorney work-product doctrine.                Indeed, the

plaintiffs do not even differentiate between whether the sought

information is opinion or non-opinion (fact) work product, the

discovery     of    which   involve    different    standards     respecting

disclosure.     See In re Martin Marietta Corp., 856 F.2d 619, 625-

26 (4th Cir. 1988) (stating that subject matter waiver applies to

non-opinion work product but not opinion work product).             And, the

plaintiffs do not even mention the work-product doctrine in their

reply.

      Thus, if the plaintiffs want to obtain the attorney work-

product, they must refile their motion to compel explaining how

there has been a waiver of the work-product protection and/or how

that protection has been forfeited by the crime-fraud exception.

      Any submission on that topic shall be filed by June 14, 2019.

The response must be filed by June 28, 2019, and the reply must be

filed by July 12, 2019.




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                                 CONCLUSION


      For the reasons, and to the extent, stated above, the Motion

 will be granted in part and denied in part.



                                                  /s/
                                   Robert E. Payne
                                   Senior United States District Judge



Richmond, Virginia
Date: May 3_/ 2019




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